Case 2:04-cr-00039-Z-BR                                  Document 179   Filed 12/28/05   Page 1 of 8   PageID 428

                                                       IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE NORTHERN DISTRICT OF TEXAS
                                                                AMARILLO DIVISION



 UNITED STATES OF AMERICA                                               §
                                                                        §
 v.                                                                     §       2:04-CR-0039 (03)
                                                                        §
 LaQUANZA ETHERIDGE                                                     §



                                        REPORT AND RECOMMENDATION TO DENY MOTION
                                         TO VACATE, SET ASIDE, OR CORRECT SENTENCE

                 Defendant LaQUANZA ETHERIDGE has filed with this Court a Motion Under 28 U.S.C. §

 2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody. For the reasons

 hereinafter expressed, the undersigned Magistrate Judge is of the opinion defendant’s motion is

 without merit and should be DENIED.


                                                                      I.
                                                              PROCEDURAL HISTORY

                 On August 16, 2004, defendant pled guilty, pursuant to a plea agreement, to a superseding

 indictment alleging conspiracy “to distribute and possess with intent to distribute approximately

 17.744 kilograms of a mixture and substance containing a detectable amount of phencyclidine (PCP)

 in violation of 21 U.S.C. § 846 (21 U.S.C. § 841(a)(1)). In the plea agreement, defendant

 acknowledged the minimum punishment for the conspiracy offense was 10 years with the maximum

 punishment being life imprisonment. In the Presentence Investigation Report (PSR), the conspiracy to

 which defendant admitted guilt was found to have involved 17.744 kilograms of a mixture containing

 PCP which, when analyzed for purity, amounted to 326 grams of pure PCP, a Schedule III controlled

 substance. At the sentencing hearing held October 13, 2004, the United States District Judge

 determined, based upon the PSR and a motion filed by the government, that defendant’s appropriate


 HAB55\R&R\ETHERIDGE-L.DNY-APPRENDI/BLAKELY/BOOKER:2
 2:05-CV-0278
Case 2:04-cr-00039-Z-BR                                Document 179    Filed 12/28/05   Page 2 of 8   PageID 429

 guideline range was 87-108 months. The District Judge sentenced defendant to 87 months

 imprisonment and a five-year term of supervised release, and ordered a mandatory special assessment

 of $100. Petitioner did not directly appeal her conviction or sentence.

                 On October 11, 2005, defendant filed the instant Motion to Vacate, Set Aside, or Correct

 Sentence pursuant to 28 U.S.C. § 2255 alleging violations of her right to due process under the 5th

 Amendment and right to trial by jury under the 6th Amendment, and ineffective assistance of counsel.

 Specifically, defendant argues that under Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147

 L.Ed.2d 435 (2000) and Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403

 (2004), her “level should be substantially lower than what it currently is” because the facts supporting

 defendant’s sentence were not found by a jury. Defendant also contends counsel’s failure to object to

 her sentence on the basis of a violation of her 6th Amendment right to a jury trial resulted in a denial of

 effective assistance of counsel. Defendant also appears to rely on United States v. Booker,               U.S.

 , 125 S.Ct. 738, 160 L.Ed.2d 621 (2005), which extended Blakely to the United States Sentencing

 Guidelines.

                 The government has not been ordered to file a response to defendant’s motion.


                                                                    II.
                                                             MERITS OF CLAIMS

                                                              Apprendi and Blakely

                 Defendant appears to argue her October 13, 2004 sentence violates the Constitution pursuant

 to the United States Supreme Court’s holding in Apprendi. In Apprendi, the Supreme Court held the

 Constitution requires that any fact which increases the penalty for a crime beyond the prescribed

 statutory maximum, other than the fact of a prior conviction, must be submitted to a jury and proved

 beyond a reasonable doubt. Apprendi, 530 U.S. at 490, 120 S.Ct. 2362-2363. In this case, defendant

 does not identify which “fact” she contends should have been submitted to a jury, or how the Court’s

 finding of such “fact” increased her penalty beyond the statutory maximum sentence for the offense,

 HAB55\R&R\ETHERIDGE-L.DNY-APPRENDI/BLAKELY/BOOKER:2
 2:05-CV-0278                                                          2
Case 2:04-cr-00039-Z-BR                                Document 179     Filed 12/28/05            Page 3 of 8          PageID 430



 nor does she contend she was not indicted for, and pled guilty to, an offense involving a specific

 quantity of a mixture of PCP.

                 In the instant case, defendant was sentenced using a base offense level of 36 for the 17.744

 kilograms of a mixture of PCP involved in the conspiracy for which she was indicted and to which she

 entered a guilty plea. Defendant was credited with a 2 level decrease for meeting the criteria for the

 specific offense characteristic, and a 3 level decrease for acceptance of responsibility, resulting in a

 total offense level of 31. As she had no criminal history, defendant’s guideline range of imprisonment

 was 108 to 135 months imprisonment. Upon the United States District Judge granting a motion by the

 government, defendant was attributed with a total offense level of 29 which carried a guideline range

 of punishment of 87 to 108 months. Defendant was sentenced to 87 months, the bottom of the

 guideline range.

                  Apprendi is applicable only to cases where the penalty for the crime exceeded the prescribed

 statutory maximum due to facts other than a prior conviction. The statutes found in the United States

 Code govern the maximum, as well as minimum, sentence for each criminal offense. Here, defendant

 pleaded guilty to and was convicted of conspiracy to possess with intent to distribute 17.744 kilograms

 of a mixture containing PCP in violation of 21 U.S.C. 846 (21 U.S.C. § 841(a)(1)). Pursuant to 21

 U.S.C. § 841(b)((1)(A)(iv), the range of punishment for a violation involving 100 grams or more of

 pure PCP or 1 kilogram or more of a mixture or substance containing PCP, is a term of imprisonment

 from ten (10) years to life. The trial court assessed defendant’s punishment at 87 months, a length

 which is clearly under the statutory maximum of life imprisonment.1 Apprendi is not applicable to this

 case and no Apprendi issue is presented.

                 Defendant also appears to argue that her statutory maximum should have been based upon the



                 1
                  The 87-month sentence assessed is even below the 10-year minimum sentence mandated by the statute.

 HAB55\R&R\ETHERIDGE-L.DNY-APPRENDI/BLAKELY/BOOKER:2
 2:05-CV-0278                                                           3
Case 2:04-cr-00039-Z-BR                                Document 179   Filed 12/28/05   Page 4 of 8   PageID 431



 finding that the conspiracy involved 326 grams of pure PCP, instead of the finding that the conspiracy

 involved 17.744 kilograms of a mixture or substance containing PCP. The statutory range of

 punishment, however, would not have changed if it had been based on the 326 grams amount because

 21 U.S.C. § 841(b)(1)(A)(iv) also sets a term of imprisonment from ten (10) years to life for violations

 involving 100 grams or more of pure PCP and the 326 grams amount clearly fell within that

 description. This claim is without merit. To the extent, if any, defendant claims her base offense level

 under the Guidelines should have been based on 326 grams of pure PCP rather than the 17.744

 kilograms of a mixture containing PCP, her claim is also without merit. Although the base offense

 level for 326 grams of pure PCP is a level 34, §2D1.1(a) requires that the greatest base offense level be

 applied. In this case, a base offense level of 36 for at least 10 KG but less than 30 KG of a mixture

 containing PCP is applicable. This claim is also without merit.

                 Defendant also argues her sentence is in violation of the holding in Blakely v. Washington. In

 Blakely, the defendant pled guilty to an offense which carried a “standard range” of 49-53 months

 imprisonment. The state’s sentencing procedure, however, allowed a state judge to impose a sentence

 above the offense’s maximum punishment upon the judge finding aggravating factors that justified

 such an upward departure. The state judge in Blakely determined such factors existed in and

 sentenced the defendant to more than three (3) years above the maximum sentence established by the

 standard range. The Court found the facts supporting the state judge’s finding were neither admitted

 by petitioner nor found by a jury. Noting the jury’s verdict alone did not authorize the sentence, the

 Supreme Court found the state’s sentencing procedure did not comply with the Sixth Amendment right

 to trial by jury.

                 Here, defendant’s sentence did not exceed the maximum guideline range of punishment of 108

 months or the statutory maximum sentence of life imprisonment authorized for an offense of

 conspiracy to possess with intent to distribute 100 grams or more of pure PCP or 1 kilogram or more
 HAB55\R&R\ETHERIDGE-L.DNY-APPRENDI/BLAKELY/BOOKER:2
 2:05-CV-0278                                                         4
Case 2:04-cr-00039-Z-BR                                Document 179     Filed 12/28/05   Page 5 of 8   PageID 432



 of a mixture or substance containing PCP. Nor did the District Judge make any additional

 determination of facts beyond those to which defendant admitted guilt. In her plea, defendant

 specifically admitted the quantity of PCP alleged in the indictment which proved the amount beyond a

 reasonable doubt. Defendant’s claim is without merit.


                                                                      Booker

                 Defendant also appears to allege the District Judge’s application of the Guidelines in

 determining her October 13, 2004 sentence violated her 6th Amendment rights based upon the United

 States Supreme Court’s January 12, 2005 decision in United States v. Booker. In Booker, the Supreme

 Court extended the rules announced in the prior decisions of Apprendi and Blakely to the federal

 Sentencing Guidelines. Specifically, Booker held that any fact (other than a prior conviction) which is

 necessary to support a sentence exceeding the maximum authorized by the facts established by a plea

 of guilty or a jury verdict, must be admitted by the defendant or proved to a jury beyond a reasonable

 doubt.

                 The Fifth Circuit recently held, however, that Booker does not apply retroactively on collateral

 review to an initial 28 U.S.C. § 2255 motion. United States v. Gentry,                    F.3d   , 2005 WL 3317891

 (5th Cir. December 8, 2005). Here, defendant’s conviction became final on October 25, 2004, upon the

 expiration of the time in which to file a notice of appeal. See Fed. R. App. P. 4(b)(1)(A)(i).

 Consequently, defendant’s conviction became final before Booker was decided. Booker would have to

 be given retroactive effect in order for it to be applied to defendant’s case. Therefore, defendant’s

 claim that her sentence, assessed under the federal Sentencing Guidelines, is unconstitutional based

 upon Booker and, thus, should be vacated, is foreclosed. Such a claim is not cognizable in a section

 2255 action.




 HAB55\R&R\ETHERIDGE-L.DNY-APPRENDI/BLAKELY/BOOKER:2
 2:05-CV-0278                                                           5
Case 2:04-cr-00039-Z-BR                                Document 179      Filed 12/28/05      Page 6 of 8   PageID 433



                                                         Ineffective Assistance of Counsel

                 Defendant contends trial counsel was ineffective for failing to object to the assessed sentence

 on the grounds that such sentence violated Apprendi and Blakely. As noted above, defendant’s

 sentence is not improper under the cited case law. Moreover, at the time defendant was sentenced, the

 law of this circuit held that Blakely did not extend, or apply, to the federal Sentencing Guidelines.

 United States v. Pineiro, 377 F.3d 464, 473 (5th Cir. 2004). See also United States v. Owen, 2004

 WL 1982394, *1 (5th Cir. Sept. 7, 2004); United States v. Cuellar, 2004 WL 1854504, *1 (5th Cir.

 Aug. 18, 2004). Consequently, any claim made by counsel that defendant’s sentence, assessed under

 the federal Sentencing Guidelines, was unconstitutional based upon Blakely would have been

 foreclosed by binding precedent. Counsel’s performance cannot be held deficient for failing to raise

 frivolous objections and/or present frivolous arguments. Defendant cannot show counsel was

 deficient in his failure to raise objections to the sentence under the above-cited case law, nor can she

 show she was prejudiced by defense counsel’s failure to challenge the same, so as to establish she was

 denied effective assistance of counsel.

                 Furthermore, as noted above, at the time defendant was sentenced, Booker had not yet been

 determined. Consequently, counsel cannot be shown to be deficient to raise any Booker-type

 objection at sentencing. Nor can defendant show counsel was deficient for failing to initiate an appeal

 and raise an allegation of error based on Booker or the theory in Booker. Specifically, defendant

 cannot show any such argument on appeal would have been successful in securing a reversal of her

 sentence. To establish ineffective assistance of counsel, a defendant must show she was prejudiced by

 counsel’s actions, as well as counsel’s deficient performance. Here, defendant can show neither. This

 claim is without merit.




 HAB55\R&R\ETHERIDGE-L.DNY-APPRENDI/BLAKELY/BOOKER:2
 2:05-CV-0278                                                            6
Case 2:04-cr-00039-Z-BR                                Document 179   Filed 12/28/05   Page 7 of 8   PageID 434



                                                                   III.
                                                             RECOMMENDATION

                 Based upon all of the foregoing, it is the RECOMMENDATION of the United States

 Magistrate Judge to the United States District Judge that the Motion Under 28 U.S.C. § 2255 to

 Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody filed by defendant

 LaQUANZA ETHERIDGE be, in all things, DENIED.


                                                                   IV.
                                                         INSTRUCTIONS FOR SERVICE

                 The United States District Clerk is directed to send a file marked copy of this Report and

 Recommendation to defendant and to each attorney of record by the most efficient means available.

                 IT IS SO RECOMMENDED.

                 ENTERED this 28th day of December 2005.




                                                                  _______________________________
                                                                  CLINTON E. AVERITTE
                                                                  UNITED STATES MAGISTRATE JUDGE


                                                       * NOTICE OF RIGHT TO OBJECT *

         Any party may object to these proposed findings, conclusions and recommendation. In the
 event a party wishes to object, they are hereby NOTIFIED that the deadline for filing objections is
 eleven (11) days from the date of filing as indicated by the file mark on the first page of this
 recommendation. Service is complete upon mailing, Fed. R. Civ. P. 5(b), and the parties are allowed a
 3-day service by mail extension, Fed. R. Civ. P. 6(e). Therefore, any objections must be filed on or
 before the fourteenth (14th) day after this recommendation is filed. See 28 U.S.C. § 636(b); Fed.
 R. Civ. P. 72(b); R. 4(a)(1) of Miscellaneous Order No. 6, as authorized by Local Rule 3.1, Local
 Rules of the United States District Courts for the Northern District of Texas.

        Any such objections shall be made in a written pleading entitled “Objections to the Report and
 Recommendation.” Objecting parties shall file the written objections with the United States District
 Clerk and serve a copy of such objections on all other parties. A party’s failure to timely file written

 HAB55\R&R\ETHERIDGE-L.DNY-APPRENDI/BLAKELY/BOOKER:2
 2:05-CV-0278                                                         7
Case 2:04-cr-00039-Z-BR                                Document 179   Filed 12/28/05   Page 8 of 8   PageID 435



 objections to the proposed findings, conclusions, and recommendation contained in this report shall
 bar an aggrieved party, except upon grounds of plain error, from attacking on appeal the unobjected-to
 proposed factual findings, legal conclusions, and recommendation set forth by the Magistrate Judge in
 this report and accepted by the district court. See Douglass v. United Services Auto. Ass’n, 79 F.3d
 1415, 1428-29 (5th Cir. 1996); Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988).




 HAB55\R&R\ETHERIDGE-L.DNY-APPRENDI/BLAKELY/BOOKER:2
 2:05-CV-0278                                                         8
